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                        UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                          Criminal No. 08-142(DSD/SRN)

United States of America,

                     Plaintiff,

v.                                                                        ORDER

Donte Martin (15),

                     Defendant.


      The above matter comes before the Court upon the Report and

Recommendation of United States Magistrate Judge Jeffrey J. Keyes dated

October 28, 2008.          No objections have been filed to that Report and

Recommendation in the time period permitted.

      Based upon the Report and Recommendation of the Magistrate Judge,

upon all of the files, records and proceedings herein, the Court now makes and

enters the following Order.

      IT IS HEREBY RECOMMENDED that:

      1.    Defendant Donte Martin’s Motion to Suppress Evidence Seized from

      3411 Emerson Avenue North, Minneapolis, Minnesota 55412 (part of Doc.

      No. 461) is DENIED.



Dated: November 14, 2008

                                      s/David S. Doty
                                      DAVID S. DOTY
                                      United States District Judge
